     Case 1:14-cr-00077-HSO-RHW     Document 274      Filed 03/27/17   Page 1 of 11




                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA

v.                                           CRIMINAL NO. 1:14cr77-HSO-RHW
                                                    CIVIL NO. 1:16cv164-HSO

CHRISTINA MILLER                                                       DEFENDANT

           ORDER DENYING DEFENDANT CHRISTINA MILLER’S
              MOTION UNDER 28 U.S.C. § 2255 TO VACATE,
               SET ASIDE OR CORRECT SENTENCE [246]

        BEFORE THE COURT is Defendant Christina Miller’s Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence [246] filed May 13, 2016.

Having considered the Motion, the record, and relevant legal authority, the Court

finds that the Motion is not well taken and should be denied.

                                  I. BACKGROUND

A.      Defendant’s Guilty Plea

        On November 5, 2014, a Grand Jury returned an eight-count Indictment [4]

against Defendant Christina Miller (“Defendant”) and others, with Defendant

named only in Count One. Indictment [4] at 1-6. Count One charged Defendant

with conspiracy “to possess with intent to distribute actual methamphetamine, a

Schedule II narcotic drug controlled substance,” in violation of 21 U.S.C. §841(a)(1)

and 21 U.S.C. § 841(b)(1)(A). Indictment [4] at 1-2. On February 6, 2015,

Defendant’s counsel filed on her behalf a Notice of Intent to Change Plea [122].

Pursuant to a written Plea Agreement [130] and Plea Supplement *SEALED* [131]
     Case 1:14-cr-00077-HSO-RHW      Document 274     Filed 03/27/17    Page 2 of 11




entered into with the Government on February 18, 2015, Defendant pleaded guilty

to Count One of the Indictment in exchange for, among other things, the

Government’s recommendation that she be sentenced to the “lower 25% of the

applicable guideline range.” Plea Suppl. *SEALED* [131] at 1.

        The written Plea Agreement [130] and Plea Supplement *SEALED* [131]

(collectively, the “Plea Agreement”) detailed both Defendant’s obligations and those

of the Government. See Minute Entry, February 18, 2015. Pursuant to the Plea

Agreement, Defendant expressly waived, with the exception of the right to raise

ineffective assistance of counsel claims, “the right to appeal the conviction and

sentence imposed in this case” and “the right to contest the conviction and sentence

or the manner in which the sentence was imposed in any post-conviction

proceeding, including but not limited to a motion brought under Title 28, United

States Code, Section 2255 . . . .” Plea Agreement [31] at 4-5.

        On May 6, 2015, the Court sentenced Defendant to a term of 120 months

imprisonment. See Minute Entry, May 6, 2015; J. [168] at 2. The Court entered the

Judgment of Conviction [168] on May 8, 2015. Defendant did not file a direct

appeal.

B.      Defendant’s 28 U.S.C. § 2255 Motion

        On May 13, 2016, Defendant’s § 2255 Motion [246] was received and filed into

the Court record. Defendant avers that she executed the Motion and placed it into

the prison mailing system on May 6, 2016. Mot. [1] at 13. Defendant alleges that:

(1) her court-appointed attorney was ineffective in failing to show evidence that she



                                           2
  Case 1:14-cr-00077-HSO-RHW         Document 274      Filed 03/27/17   Page 3 of 11




had no “input on the import of drugs” which resulted in her loss of “2 points for

import,” Mot. [1] at 4; (2) her sentence should be reduced because she was “less

culpable” than her codefendants and her criminal conduct only amounted to

“aberrant behavior,” id. at 5; and (3) her sentence was improper under the

“Guidelines” because it was “based on ‘hear-say’ and facts not admitted by myself or

proven,” id. at 7.

       The Government filed its Response [248] on May 27, 2016, arguing that

Defendant had waived her right to file a § 2255 Motion when she entered into the

Plea Agreement. Resp. [248] at 1-4. Specifically, the Government points out in

Paragraph 3 of its Response that Defendant waived certain rights.

       In the plea agreement entered into with the advice of counsel, Miller
       specifically waived her right to seek post-conviction relief in this case.
       As the agreement explicitly provides:

              Defendant, knowing and understanding all of the matters
              aforesaid, including the maximum possible penalty that could be
              imposed, and being advised of Defendant’s rights to remain silent,
              to trial by jury, to subpoena witnesses on Defendant’s own behalf,
              to confront the witnesses against him, and to appeal the
              conviction and sentence, in exchange for the U.S. Attorney
              entering into this plea agreement and accompanying plea
              supplement, hereby expressly waives the following rights (except
              defendant reserves the right to raise ineffective assistance of
              counsel claims):
                                            [. . .]

              b. the right to contest the conviction and sentence or the
              manner in which the sentence was imposed in any post-
              conviction proceeding, including but not limited to a motion
              brought under Title 28, United States Code, Section 2255, and
              any type of proceeding claiming double jeopardy or excessive
              penalty as a result of any forfeiture ordered or to be ordered in
              this case . . . [.]



                                           3
     Case 1:14-cr-00077-HSO-RHW       Document 274      Filed 03/27/17   Page 4 of 11




        Docket Entry No. 130 ¶ 8 (emphasis added).

Resp. [248] at 1-2. The Government further maintains that Defendant has not

shown ineffective assistance of counsel because her counsel did object to the two

level enhancement for importation of drugs in her Response *SEALED* [162-2] to

the Pre-Sentence Report *SEALED* [162], although the objection was ultimately

overruled. Resp. *SEALED* [162-2] at 1-3. Finally, the Government contends that

Defendant was sentenced to the mandatory minimum statutory sentence of 10

years, such that the two level enhancement for importation had no bearing on her

sentence. Resp. [248] at 3. Defendant has not responded to the Government’s

Response or otherwise addressed the Government’s arguments.

                                   II. DISCUSSION

A.      Legal Standard

        Once finally convicted, there are four narrow and separate grounds upon

which a federal prisoner may move to vacate, set aside, or correct a sentence under

28 U.S.C. § 2255: (1) the sentence was imposed in violation of the Constitution or

laws of the United States; (2) the Court was without jurisdiction to impose the

sentence; (3) the sentence exceeds the statutory maximum sentence; or (4) the

sentence is “otherwise subject to collateral attack.” 28 U.S.C. § 2255; see also

United States v. Cates, 952 F.2d 149, 151 (5th Cir. 1992). “[O]n collateral attack, a

defendant is limited to alleging errors of a ‘constitutional or jurisdictional

magnitude.’” United States v. Samuels, 59 F.3d 526, 528 (5th Cir. 1995) (quoting




                                            4
  Case 1:14-cr-00077-HSO-RHW         Document 274       Filed 03/27/17    Page 5 of 11




United States v. Shaid, 937 F.2d 228, 232 (5th Cir. 1991)). Upon conviction and

exhaustion of any right to appeal, courts are entitled to presume that a defendant

stands fairly and finally convicted. United States v. Frady, 456 U.S. 152, 164 (1982);

Shaid, 937 F.2d at 231-32. Relief under § 2255 is therefore reserved for violations

of constitutional rights and for a narrow range of injuries which could not have been

raised on direct appeal and which, if condoned, would result in a complete

miscarriage of justice. United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992).

      “The validity of a guilty plea is a question of law . . . .” United States v.

Hernandez, 234 F.3d 252, 254 (5th Cir. 2000) (citing United States v. Amaya, 111

F.3d 386, 388 (5th Cir. 1997)). “A plea of guilty is constitutionally valid only to the

extent it is ‘voluntary’ and ‘intelligent.’” Bousley v. United States, 523 U.S. 614, 618

(1998) (citation omitted). Therefore, “[a] guilty plea will be upheld on habeas review

if entered into knowingly, voluntarily, and intelligently.” Hernandez, 234 F.3d at

255 (quoting Montoya v. Johnson, 226 F.3d 399, 404 (5th Cir. 2000)).

      Whether a guilty plea was “knowing” turns on whether a defendant

understands the direct consequences of a plea, including the maximum possible

penalty, while “voluntariness” of a plea depends on whether the plea was induced

by threats, misrepresentation, unfulfilled promises, or improper promises. Id. at

255 n.3. “[A] plea of guilty entered by one fully aware of the direct consequences of

the plea is voluntary in a constitutional sense unless induced by threats,

misrepresentation, or perhaps by promises that are by their nature improper as

having no proper relationship to the prosecutor's business.” Bousley, 523 U.S. at



                                            5
     Case 1:14-cr-00077-HSO-RHW      Document 274      Filed 03/27/17   Page 6 of 11




619 (quotation omitted). “To constitute an intelligent act, it must be done with

sufficient awareness of the relevant circumstances and likely consequences.”

United States v. Guerra, 94 F.3d 989, 995 (5th Cir. 1996) (quotation omitted). The

United States Supreme Court has “long held that a plea does not qualify as

intelligent unless a criminal defendant first receives real notice of the true nature of

the charge against him, the first and most universally recognized requirement of

due process.” Bousley, 523 U.S. at 618 (quotation omitted).

        Defendant pleaded guilty to Count One of the Indictment on May 6, 2015,

and the Judgment was entered May 8, 2015. No appeal was filed. After conviction

and exhaustion, or waiver, of any right to appeal, it is presumed that Defendant

stands fairly and finally convicted. Samuels, 59 F.3d at 528 (internal citation

omitted).

B.      Defendant’s waiver of the right to assert claims under 28 U.S.C. § 2255 was
        entered into knowingly and voluntarily and is enforceable.

        Defendant does not assert that her guilty plea was not knowing and

voluntary. Based upon a review of the record, the pleadings, and the relevant legal

authority, the Court finds that with the exception of her ineffective assistance of

counsel claims, Defendant’s other claims in her Motion are barred because she

waived the right to file a § 2255 Motion as a condition of her Plea Agreement, which

Defendant and her counsel signed on February 18, 2015. Plea Agreement [130] at

1-6; Plea Supplement *SEALED* [131] at 1-4. The Plea Agreement provides that

both Defendant and her counsel “declare” that Defendant had either read the Plea




                                           6
  Case 1:14-cr-00077-HSO-RHW        Document 274      Filed 03/27/17   Page 7 of 11




Agreement or had it read to her, that it had been explained to her by her counsel,

that Defendant understood it, and that Defendant voluntarily agreed to and

accepted it. Plea Agreement [31] at 1-6; Plea Suppl. *SEALED* [32] at 1-4.

      The Plea Agreement [31] clearly provided, in relevant part, that Defendant

      expressly waives the following rights (except that Defendant reserves
      the right to raise ineffective assistance of counsel claims):

             a. the right to appeal the conviction and sentence imposed
                in this case, or the manner in which that sentence was
                imposed, on the grounds set forth in Title 18, United
                States Code, Section 3742, or on any ground whatsoever,
                and

             b. the right to contest the conviction and sentence or the
                manner in which the sentence was imposed in any post-
                conviction proceeding, including but not limited to a
                motion brought under Title 28, United States Code,
                Section 2255 . . . .

Plea Agreement [130] at 4-5.

      In her present § 2255 Motion, Defendant has not alleged that her waiver of

the right to assert § 2255 claims was unknowing or involuntary, nor has she alleged

ineffective assistance of counsel at the time she entered into the Plea Agreement.

See United States v. Hoctel, 154 F.3d 506, 507 (5th Cir. 1998) (finding that

defendant pointed to no evidence in the record that his explicit waiver included in

the plea agreement and signed by defendant and his counsel, was not informed and

voluntary). To the extent Defendant alleges ineffective assistance of counsel, her

claims pertain to her sentencing, not her guilty plea. Based upon the § 2255

Motion, the record, and relevant legal authority, the Court finds that Defendant’s




                                          7
     Case 1:14-cr-00077-HSO-RHW       Document 274     Filed 03/27/17    Page 8 of 11




waiver of her right to assert claims under 28 U.S.C. § 2255, with the exception of

ineffective assistance of counsel claims, was therefore knowing and voluntary and

should be enforced. Defendant’s claims, other than her ineffective assistance of

counsel claims, should be dismissed.

C.       Defendant’s assertions that her sentence should be reduced predicated upon
         ineffective assistance of counsel at sentencing and that she was “less
         culpable” are not well taken.

         Defendant asserts that her counsel was ineffective at sentencing in that he

failed to introduce evidence that she had no “input on the import of drugs” which

resulted in her loss of “2 points for import.” Mot. [1] at 4.; see U. S. SENTENCING

GUIDELINES MANUAL (“U.S.S.G.”) § 2D1.1(b)(5) (increase of two levels if “the

offense involved the importation of amphetamine or methamphetamine or the

manufacture of amphetamine or methamphetamine from listed chemicals that the

defendant knew were imported unlawfully”).

         To demonstrate ineffective assistance of counsel, Defendant must show: (1)

that counsel’s representation fell below an objective standard of reasonableness;

and (2) that counsel’s ineffective assistance was prejudicial. Strickland v.

Washington, 466 U.S. 668, 687-88. “Failure to establish either prong defeats the

claim.” Tucker v. Johnson, 115 F.3d 276, 280 (5th Cir. 1997). “[M]ere conclusory

allegations in support of a claim of ineffective assistance of counsel are insufficient

to raise a constitutional issue.” Green v. Johnson, 160 F.3d 1029, 1042-43 (5th Cir.

1998).




                                            8
  Case 1:14-cr-00077-HSO-RHW        Document 274      Filed 03/27/17   Page 9 of 11




      When considering whether counsel provided ineffective assistance, the Court

must presume that “counsel's conduct [fell] within the wide range of reasonable

professional assistance[,]” and a defendant must overcome that presumption.

Strickland, 466 U.S. at 689. To demonstrate “prejudice” in the Strickland sense,

“the defendant must show that there is a reasonable probability that, but for

counsel’s unprofessional errors, the result of the proceeding would have been

different.” Id. at 694.

      In support of her argument that her sentence should be reduced, Defendant

asserts that her attorney was ineffective in his failure to “show evidence” that she

had no “input on the import of drugs” which resulted in her loss of “2 points for

import.” Mot. [1] at 4. The problem with Defendant’s position is that her attorney

did in fact object to the Pre-Sentence Report’s characterization of her in Paragraph

106 as a “courier” and further objected to the facts contained in “Paragraphs 24

through 169 (with the exception of Paragraph 41, Paragraph 106 through 115, and

Paragraphs 151-153),” on grounds that Defendant had no knowledge of the

allegations contained therein, including the factual allegations that the

methamphetamine was imported. Objections *SEALED* [162-2] at 1-3; see also

Addendum to Pre-Sentence Report *SEALED* [162-1] at 1-3.

      Even if counsel had succeeded in having the objection to the two level

enhancement sustained, Defendant’s sentence would not have been reduced because

she received the mandatory minimum statutory sentence of 120 months under 21

U.S.C. § 841(b)(1)(A) due to the quantity of drugs attributable to her. See 21 U.S.C.



                                          9
 Case 1:14-cr-00077-HSO-RHW          Document 274     Filed 03/27/17    Page 10 of 11




§ 841(b)(1)(A). The same rationale applies to Defendant’s argument that she was

“less culpable” than her co-conspirators. Defendant received the mandatory

minimum statutory sentence as reflected in her Plea Agreement and in Count One.

      The Court finds that Defendant cannot prevail on her ineffective assistance of

counsel claims. Moreover, Defendant waived the right to contest her sentence in

the Plea Agreement.

D.    Defendant’s assertion that her sentence was improper under the Guidelines
      because it was “based on ‘hear-say’ and facts not admitted by myself or
      proven,” Mot. [246] at 7, is not well taken based upon the waivers contained
      within the Plea Agreement.

      By entering into the Plea Agreement, Defendant knowingly waived her right

to “trial by jury, to subpoena witnesses on Defendant’s own behalf, to confront the

witnesses against Defendant,” Plea Agreement [130] at 4, and agreed and

acknowledged “that, in making its sentencing decision, the district court may

consider any relevant evidence without regard to its admissibility under the rules of

evidence applicable at trial,” id. at 5. As previously set forth by the Court,

Defendant’s counsel’s objections to the “hearsay” statements against Defendant

were not well taken. Even if the Court had sustained the objections to the alleged

hearsay statements, Defendant’s sentence would not have been reduced because

Defendant was sentenced to the mandatory minimum sentence for the crime to

which she pleaded guilty.




                                           10
 Case 1:14-cr-00077-HSO-RHW       Document 274     Filed 03/27/17   Page 11 of 11




                               III. CONCLUSION

      For the reasons set forth herein, the Court finds that Defendant Christina

Miller’s § 2255 Motion [246] should be denied. Accordingly,

      IT IS, THEREFORE, ORDERED AND ADJUDGED that Defendant

Christina Miller’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside or Correct

Sentence [246] is DENIED.

      SO ORDERED AND ADJUDGED, this the 27th day of March, 2017.


                                      s/ Halil Suleyman Ozerden
                                      HALIL SULEYMAN OZERDEN
                                      UNITED STATES DISTRICT JUDGE




                                        11
